 Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 1 of 46. PageID #: 17633



                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION




 IN RE: NATIONAL PRESCRIPTION                       MDL No. 2804
       OPIATE LITIGATION

        This document relates to:               Hon. Dan Aaron Polster
The County of Summit, Ohio, et al. v. Purdue
            Pharma L.P., et al.
          Case No. 18-op-45090


         DISTRIBUTORS’ REPLY IN SUPPORT OF MOTION TO DISMISS
      Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 2 of 46. PageID #: 17634



                                              TABLE OF CONTENTS

ARGUMENT ……………………………………………………………………………………..3

I.       THE COUNTY’S RICO AND OCPA CLAIMS SHOULD BE DISMISSED. ................. 3

         A.     The County Fails To Allege an Injury to Business or Property. ............................. 3

                1.         The County has abandoned its claims for medical and treatment
                           costs............................................................................................................. 3

                2.         The County cannot recover for police and fire services. ............................ 4

                3.         The County cannot recover for lost taxes, revenue, and funding. .............. 4

         B.     The County Fails To Allege a Direct Injury. .......................................................... 6

                1.         The direct injury rule bars the County’s RICO claim. ................................ 6

                2.         The direct injury rule bars the County’s OCPA claim................................ 8

         C.     The County Fails To Allege “Racketeering Activity” or “Corrupt
                Activity.” ............................................................................................................... 10

                1.         The Complaint does not allege “racketeering activity.” ........................... 10

                2.         The Complaint does not allege “corrupt activity.” ................................... 14

         D.     The County Fails To Allege Participation in an Enterprise. ................................. 15

II.      THE COUNTY’S PUBLIC NUISANCE CLAIMS SHOULD BE DISMISSED. .......... 16

         A.     The OPLA Bars the County’s Public Nuisance Claims........................................ 16

                1.         Absolute public nuisance. ......................................................................... 16

                2.         Statutory Public Nuisance. ........................................................................ 18

         B.     The County’s Absolute Public Nuisance Claim Fails in any Event. .................... 19

                1.         There is no public right to be free from addiction. ................................... 19

                2.         Licensed distributors can be liable only for qualified public
                           nuisance..................................................................................................... 21

         C.     The Statutory Public Nuisance Claims Should Be Dismissed or Limited. ........... 22




                                                                   i
     Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 3 of 46. PageID #: 17635



III.    THE COUNTY’S NEGLIGENCE CLAIM SHOULD BE DISMISSED. ....................... 23

        A.       The OPLA Bars the County’s Negligence Claim. ................................................ 23

        B.       The Complaint Fails Adequately To Allege Duty. ............................................... 24

IV.     THE DIRECT INJURY TEST REQUIRES DISMISSAL OF THE
        NEGLIGENCE AND NUISANCE CLAIMS. ................................................................. 28

V.      THE ECONOMIC LOSS DOCTRINE BARS PLAINTIFFS’ NUISANCE AND
        NEGLIGENCE CLAIMS. ................................................................................................ 32

        A.       The Doctrine Bars the Negligence Claim. ............................................................ 33

        B.       The Doctrine Bars the Nuisance Claim. ............................................................... 34

VI.     THE UNJUST ENRICHMENT CLAIM SHOULD BE DISMISSED. ........................... 35

VII.    THE CIVIL CONSPIRACY CLAIM SHOULD BE DISMISSED. ................................ 36




                                                             ii
   Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 4 of 46. PageID #: 17636




                                              TABLE OF AUTHORITIES

                                                     FEDERAL CASES

Am. Dental Ass’n v. Cigna Corp., 605 F.3d 1283 (11th Cir. 2010) ..............................................15

Anza v. Ideal Steel Supply Co., 547 U.S. 451 (2006) ....................................................................31

Atkins v. Hibernia Corp., 182 F.3d 320 (5th Cir. 1999) ................................................................12

Ayres v. Gen. Motors Corp., 234 F.3d 514 (11th Cir. 2000) .........................................................12

Bank of Am. Corp. v. City of Miami, 137 S. Ct. 1296 (2017) ..........................................................8

Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) ............................................................................6

Bradley v. Miller, 96 F. Supp. 3d 753 (S.D. Ohio 2015) ...........................................................9, 14

Bridge v. Phoenix Bond & Indemnity Co., 553 U.S. 639 (2008) .....................................................7

Buckman Co. v. Plaintiffs’ Legal Cmte., 531 U.S. 341 (2001) ......................................................21

Canyon County v. Syngenta Seeds, Inc., 519 F.3d 969 (9th Cir. 2008) .......................................4, 5

Chem. Solvents, Inc. v. Advantage Eng’g, Inc., 2011 WL 1326034
   (N.D. Ohio Apr. 6, 2011) .........................................................................................................24

City of Cincinnati v. Deutsche Bank Nat’l Trust Co., 863 F.3d 474 (6th Cir. 2017) ..........2, 33, 35

City of Cleveland v. Ameriquest Mortg. Sec., 615 F.3d 496 (6th Cir. 2010) ......................... passim

City of New York v. Smokes-Spirits.com, Inc., 541 F.3d 425 (2d Cir. 2008) ...................................6

Corley v. Rosewood Care Ctr., Inc. of Peoria, 388 F.3d 990 (7th Cir. 2004) ...............................13

County of Oakland v. City of Detroit, 866 F.2d 839 (6th Cir. 1989) ...............................................5

Cuyler v. United States, 362 F.3d 949 (7th Cir. 2004) ..................................................................25

Doe v. Bredesen, 507 F.3d 998 (6th Cir. 2007) ...............................................................................4

Ergon, Inc. v. Amoco Oil Co., 966 F. Supp. 577 (W.D. Tenn. 1997) ............................................36

Hemi Grp., LLC v. City of New York., 559 U.S. 1 (2010) .......................................................6, 7, 8

Hempy v. Breg, Inc., 2012 WL 380119 (S.D. Ohio Feb. 6, 2012).................................................18

Holmes v. Sec. Inv’r Prot. Corp., 503 U.S. 258 (1992) .......................................................6, 28, 29


                                                                  iii
    Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 5 of 46. PageID #: 17637



Illinois Department of Revenue v. Phillips, 771 F.2d 312 (7th Cir. 1985) ......................................5

In re E.I. du Pont de Nemours & Co. C-8 Pers. Injury Litig., 2015 WL 4092866
    (S.D. Ohio July 6, 2015) ..........................................................................................................25

In re Neurontin Marketing & Sales Practices Litigation, 712 F.3d 21
    (1st Cir. 2013) ............................................................................................................................8

Jackson v. Sedgwick Claims Mgmt. Servs., 731 F.3d 556 (6th Cir. 2013) ......................................3

JBlanco Enter. v. Soprema Roofing & Waterproofing, Inc., 2016 WL 6600423
   (N.D. Ohio Nov. 8, 2016) ........................................................................................................34

Laborers Local 17 Health & Benefit Fund v. Philip Morris, Inc., 191 F.3d 229
   (2d Cir. 1999) ...........................................................................................................................28

Little Hocking Water Association v. E.I. du Pont de Nemours & Co.,
    91 F. Supp. 3d 940 (S.D. Ohio 2015) ......................................................................................36

Marsh v. Genentech, Inc., 693 F.3d 546 (6th Cir. 2012) ...............................................................21

McKinney v. Microsoft Corp., 2011 WL 13228141 (S.D. Ohio May 12, 2011) ...........................24

Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Young, 1994 WL 88129
   (S.D.N.Y. Mar. 15, 1994) ........................................................................................................10

Michigan v. Fawaz, 848 F.2d 194, 1988 WL 44736 (6th Cir. May 9, 1988) ..................................6

Mitchell v. Proctor & Gamble, 2010 WL 728777 (S.D. Ohio Mar. 1, 2010)................................24

Moore v. Texaco, Inc., 244 F. 3d 1229 (10th Cir. 2001) ...............................................................36

Moss v. BMO Harris Bank, N.A., 258 F. Supp. 3d 289 (E.D.N.Y. 2017) .....................................15

Myers v. United States, 17 F.3d 890 (6th Cir. 1994) .....................................................................25

O’Brien v. Nat’l Prop. Analysts Partners, 719 F. Supp. 222 (S.D.N.Y. 1989) .............................10

O’Brien v. Price Waterhouse, 740 F. Supp. 276 (S.D.N.Y. 1990) ................................................10

Ohio Edison Co. v. Direct Energy Bus., LLC, 2017 WL 3174347
   (N.D. Ohio July 26, 2017) .......................................................................................................36

Puckett v. Tenn. Eastman Co., 889 F.2d 1481 (6th Cir. 1989) ........................................................9

Rahimi v. St. Elizabeth Med. Ctr., 1997 WL 33426269 (S.D. Ohio July 16, 1997) ......................14

Shetiwy v. Midland Credit Mgmt., 15 F. Supp. 3d 437 (S.D.N.Y. 2014) ......................................10



                                                                       iv
   Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 6 of 46. PageID #: 17638



Singh v. NYCTL 2009-A Tr., 683 F. App’x 76 (2d Cir. 2017) .......................................................13

Sosa v. DIRECTV, Inc., 437 F.3d 923 (9th Cir. 2006)...................................................................13

Stratford v. SmithKline Beecham Corp., 2008 WL 2491965
    (S.D. Ohio June 17, 2008) .......................................................................................................23

Tekavec v. Van Waters & Rogers, Inc., 12 F. Supp. 2d 672 (N.D. Ohio 1998) ............................25

United States ex rel. Barmak v. Sutter Corp., 2003 WL 21436213
   (S.D.N.Y. June 20, 2003).........................................................................................................12

United States ex rel. Bledsoe v. Community Health Systems, Inc., 501 F.3d 493
   (6th Cir. 2007)..........................................................................................................................11

United States ex rel. Conteh v. IKON Office Sols., Inc., 103 F. Supp. 3d 59
   (D.D.C. 2015) ..........................................................................................................................12

United States ex rel. Hirt v. Walgreen Co., 846 F.3d 879 (6th Cir. 2017) ....................................11

United States v. Healy Tibbits Constr. Co., 607 F. Supp. 540 (N.D. Cal. 1985)...........................36

United States v. Philip Morris USA, Inc., 449 F. Supp. 2d 1 (D.D.C. 2006) ..................................1

United States v. Veal, 23 F.3d 985 (6th Cir. 1994) ........................................................................14

Wallace v. Midwest Financial & Mortgage Services, Inc., 714 F.3d 414
   (6th Cir. 2013)............................................................................................................................7

Walther v. Patel, 2011 WL 382752 (E.D. Pa. Feb. 4, 2011) .........................................................13

Welborn v. Bank of N.Y. Mellon Corp., 557 F. App’x 383 (5th Cir. 2014) .................................4, 5

White v. Smith & Wesson, 97 F. Supp. 2d 816 (N.D. Ohio 2000) .................................................36

                                                           STATE CASES

Arcenio v. Youngstown State Univ., 68 N.E.3d 157 (Ohio Ct. App. 2016) ...................................18

Brown v. Cty. Comm’rs of Scioto Cty., 622 N.E.2d 1153 (Ohio Ct. App. 1993) ........17, 20, 21, 22

City of Boston v. Smith & Wesson Corp., 2000 WL 1473568
    (Mass. Super. Ct. July 13, 2000)..............................................................................................29

City of Chicago v. Beretta U.S.A., Corp., 821 N.E.2d 1099 (Ill. 2004).........................................20

City of Cincinnati v. Beretta U.S.A. Corp., 768 N.E.2d 1136 (Ohio 2002) ...................2, 20, 27, 29

City of Niles v. Evans, 136 N.E.2d 177 (Ohio Ct. Com. Pl., Trumbull Cty. 1955) .......................17


                                                                      v
    Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 7 of 46. PageID #: 17639



Clemens v. Nelson Fin. Grp., Inc., 2015 WL 1432604
   (Ohio Ct. App. Mar. 31, 2015).................................................................................................34

Cleveland v. JP Morgan Chase Bank, N.A., 2013 WL 1183332
   (Ohio Ct. App. Mar. 21, 2013)...................................................................................................9

Cleveland v. JP Morgan Chase Bank, N.A., 2013-Ohio-1035 ......................................................33

CSAHA/UHHS-Canton, Inc. v. Aultman Health Found., 2012 WL 750972
   (Ohio Ct. App. Mar. 5, 2012).....................................................................................................9

Digiknow, Inc. v. PKXL Cards, Inc., 2011 WL 2899600
   (Ohio Ct. App. July 21, 2011)..................................................................................................33

Evans v. City of Johnstown, 96 Misc. 2d 755
   (N.Y. Sup. Ct. 1978)…………………. ...................................................................................36

Fed. Steel & Wire Corp. v. Ruhin Constr. Co., 543 N.E.2d 769 (Ohio 1989)...............................32

Herakovic v. Catholic Diocese of Cleveland, 2005 WL 3007145
   (Ohio Ct. App. Nov. 10, 2005) ..................................................................................................9

Hodges v. Ettinger, 189 N.E. 113 (Ohio 1934) .............................................................................17

In re Foreclosure of Liens for Delinquent Land Taxes, 18 N.E.3d 1151
    (Ohio 2014) ..............................................................................................................................15

Indep. Ins. Agents of Ohio, Inc. v. Fabe, 587 N.E.2d 814 (Ohio 1992) ........................................19

Johnson v. Microsoft, 834 N.E.2d 791 (Ohio 2005) ................................................................35, 36

Kramer v. Angel’s Path, LLC, 882 N.E.2d 46 (Ohio Ct. App. 2007) ............................................21

LaPuma v. Collinwood Concrete, 661 N.E.2d 714 (Ohio 1996) ...................................................24

Lesick v. Manning, 1992 WL 380284 (Ohio Ct. App. Dec. 17, 1992) ............................................9

Queen City Terminals, Inc. v. General American Transportation Corp.,
   653 N.E.2d 661 (Ohio 1995)........................................................................................32, 33, 35

RWP, Inc. v. Fabrizi Trucking & Paving Co., 2006 WL 2777159
  (Ohio Ct. App. Sept. 28, 2006) ................................................................................................17

RWP, Inc. v. Fabrizi Trucking & Paving Co., 2006-Ohio-5014 .............................................33, 35

Salem Iron Co. v. Hyland, 77 N.E. 751 (Ohio 1906).....................................................................17

State ex rel. Carna v. Teays Valley Local Sch. Dist. Bd. of Educ., 967 N.E.2d 193
    (Ohio 2012) ..............................................................................................................................19


                                                                      vi
    Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 8 of 46. PageID #: 17640



State ex rel. Schoener v. Bd. of Comm’rs of Hamilton Cty., 619 N.E.2d 2
    (Ohio Ct. App. 1992) .........................................................................................................21, 22

State v. Gardner, 2008-Ohio-2787, 889 N.E.2d 995 (Ohio 2008) ..................................................9

Three-C Body Shops, Inc. v. Nationwide Mut. Fire Ins., 2017 WL 1407304
   (Ohio Ct. App. Apr. 20, 2017) .................................................................................................36

Volovetz v. Tremco Barrier Sols., Inc., 74 N.E.3d 743 (Ohio Ct. App. 2016) ..............................24

Volter v. C. Schmidt Co., 598 N.E.2d 35 (Ohio Ct. App. 1991) ....................................................32

Wallace v. Ohio Dep’t of Commerce, 773 N.E.2d 1018 (Ohio 2002) ...........................................25

                                                   OTHER AUTHORITIES

21 C.F.R. §§ 1303.21 .....................................................................................................................13

18 U.S.C. §§ 1341 ..........................................................................................................................15

18 U.S.C. §§ 1343……………… ..................................................................................................15

18 U.S.C. § 1961 ............................................................................................................................13

21 U.S.C. § 827 ..............................................................................................................................12

21 U.S.C. § 843 ........................................................................................................................13, 14

Ohio Rev. Code § 2307.71.......................................................................................................18, 23

Ohio Rev. Code § 2913.05.............................................................................................................15

Ohio Rev. Code § 2923.34.......................................................................................................14, 15

Ohio Rev. Code § 4729.35.......................................................................................................22, 23




                                                                      vii
    Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 9 of 46. PageID #: 17641



        The Omnibus Memorandum in Opposition (“Opposition”) confirms that this case is about

the alleged deceptive marketing of prescription opioids by Manufacturers.                   The County

repeatedly insists that manufacturers (i) deceptively marketed opioids (ii) to doctors, (iii)

changing their perceptions about the risks of the drugs, (iv) thereby causing sales to “skyrocket,”

and (v) leading many of Plaintiffs’ residents into drug addiction.” Opp. 12, 50. And it was this

conduct by the Manufacturers, the County claims, that set the opioid crisis into motion: “Without

Manufacturer Defendant’s conduct, which caused prescribing of opioids … to skyrocket, the

opioid epidemic would not have occurred ….” Opp. 1. 1

        The County does not and cannot say this about Distributors. Nor does it allege that

Distributors knew that the Manufacturers’ marketing was deceptive or that doctors had been

duped. What Distributors knew was that DEA, the agency charged with gauging the medical

need for prescription opioids, raised the annual quota every year from 1995 to 2013. What

Distributors did was supply licensed pharmacies with the drugs that doctors prescribed, and

report all shipments of prescription opioids to DEA. The County does not contend otherwise.

When it reaches for relevant legal authority, the Opposition cites United States v. Philip Morris

USA, Inc., 449 F. Supp. 2d 1, 28 (D.D.C. 2006), in which tobacco manufacturers “marketed and

sold their lethal product with zeal, with deception, and with a single-minded focus on their

financial success.” Similarly here, the County alleges that opioid manufacturers “pursu[ed] a

deceptive marketing scheme that was designed to … change the perception of opioids … and

mislead[] doctors and the public about the risks and benefits of opioids.” Opp. 12; see also id.

25, 50. But there are—and could be—no comparable allegations regarding Distributors. When

the Opposition cites specific factual allegations to support its arguments, it cites those about

1
    Unless otherwise stated, all emphasis in quotations herein has been added and internal quotation
    marks and citations omitted.

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  Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 10 of 46. PageID #: 17642



Manufacturers’ conduct, or obfuscates by referring generically to “Defendants.”

       Beyond this problem, the Opposition defies recent developments in Ohio law, in cases

and on matters uncannily similar to those here. First, the County is not the first to attempt to

recover public expenditures arguably traceable to deceptively marketed products. Cleveland and

Cincinnati brought such cases, and the Sixth Circuit dismissed them both. See City of Cleveland

v. Ameriquest Mortg. Sec., 615 F.3d 496 (6th Cir. 2010); City of Cincinnati v. Deutsche Bank

Nat’l Trust Co., 863 F.3d 474 (6th Cir. 2017). In both cases, it held that the cities’ public

nuisance claims were not viable. There, as here, the cities’ alleged harm was indirect because it

was contingent on whether city residents had been injured. There, as here, the economic loss

doctrine foreclosed the cities’ public nuisance claims. There the city failed to “connect [the

banks’ conduct] to the existence of an actual nuisance” by failing to allege “why a particular

property owned by [the bank] endanger[ed] the public.” Deutsche Bank, 863 F.3d at 480.

Similarly here, the Complaint fails to connect Distributors’ conduct to the nuisance by failing to

allege a single “suspicious” order that Distributors allegedly filled within the County.

       Second, while the County dismisses this recent Sixth Circuit authority, it embraces City

of Cincinnati v. Beretta U.S.A. Corp., 768 N.E.2d 1136 (Ohio 2002). But Beretta is a decision

that the General Assembly abrogated when it amended the OPLA in 2005 and 2007 and that the

Supreme Court has not cited since for any proposition other than the motion-to-dismiss standard.

       Third, the Opposition ignores altogether the well-developed body of products liability

law designed to deal with allegedly dangerous or defective products. But for the absence of the

County residents who were mis-prescribed or abused opioids, and suffered addiction as a result,

this is a classic personal injury litigation. But the County does not go the products-liability route

because it wants to distance itself from those users and lacks subrogation rights that would entitle




                                                 2
     Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 11 of 46. PageID #: 17643



it to stand in the users’ shoes. This leaves the County trying to recover purely economic

damages—which the economic loss doctrine bars, as the Sixth Circuit held in Deutsche Bank.

         It is no wonder the Opposition talks so little about Distributors’ conduct and roundly fails

to cite authority holding liable entities, like Distributors, that did not design the product in

question or promote it to doctors or patients, and that could not control the professionals who

prescribed and dispensed it or the persons downstream who used and misused it. The claims

against Distributors should be dismissed.

                                            ARGUMENT

I.       THE COUNTY’S RICO AND OCPA CLAIMS SHOULD BE DISMISSED.

         Distributors’ opening brief demonstrated that the RICO and OCPA claims fail as to

Distributors because the County did not allege (1) an injury to its business or property; (2) a

direct injury; (3) that each Distributor committed two or more predicate acts; or (4) that

Distributors participated in the direction of a well-pled criminal enterprise.        The County’s

Opposition fails to resuscitate its claims against Distributors.

         A.     The County Fails To Allege an Injury to Business or Property.

         The County’s alleged injuries fall into three categories, none which constitute injury to

“business or property” for purposes of RICO.

                1.      The County has abandoned its claims for medical and treatment costs.

         The Complaint asserted as RICO injury, and sought as alleged damages, “[c]osts for

providing healthcare and medical care.” Compl. ¶ 934(b); accord id. ¶ 934(c), (d), (f), (g) (also

seeking medical and treatment costs). The County’s entitlement to recover these costs under

RICO is foreclosed by binding Sixth Circuit precedent. Dkt. 491-1 (hereinafter, “Br.”) at 8–9;

Jackson v. Sedgwick Claims Mgmt. Servs., 731 F.3d 556, 565–66 (6th Cir. 2013) (en banc)

(holding that “both personal injuries and pecuniary losses flowing from those personal injuries


                                                  3
  Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 12 of 46. PageID #: 17644



fail to confer relief under [RICO]”). The Opposition concedes that Jackson bars relief under

RICO for “losses proximately resulting from personal injuries” and does not dispute that this

includes the healthcare and medical expenses sought in the Complaint. Opp. 36–37. The Court

therefore should dismiss the RICO claim to the extent that the County seeks to recover for

medical and other expenses that flow from personal injury to County residents. See, e.g., Doe v.

Bredesen, 507 F.3d 998, 1007 (6th Cir. 2007) (affirming dismissal of a claim as abandoned

where opposition brief failed to respond to argument made in motion to dismiss).

               2.     The County cannot recover for police and fire services.

       The Court also should dismiss the RICO claim to the extent that the County seeks to

recover costs of law enforcement and fire services. The Opposition asserts in passing that the

County’s damages include amounts spent on “police and fire services,” Opp. 37, but cites no

case authorizing recovery under RICO for police, fire, or similar services. Nor does it attempt to

distinguish Canyon County v. Syngenta Seeds, Inc., 519 F.3d 969 (9th Cir. 2008), which held that

monies “expended on public health care and law enforcement services” by county governments

do not constitute injuries to business or property under RICO. The County thus wholly fails to

rebut Distributors’ showing that the costs of carrying out basic governmental services cannot

constitute injury to “business and property” for purposes of RICO. See Br. 10–11; Welborn v.

Bank of N.Y. Mellon Corp., 557 F. App’x 383, 387 (5th Cir. 2014) (per curiam) (a government

can assert a RICO claim only for injury to its “commercial interests”—i.e., “injuries suffered in

its capacity as a consumer of goods and services”—but not for “general injury to the economy or

to the Government’s ability to carry out its functions”).

               3.     The County cannot recover for lost taxes, revenue, and funding.

       The County also is wrong that it may recover “lost taxes” under RICO. The County cites

Welborn to argue that a local government may assert a claim for injury to its “revenue-generating


                                                4
  Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 13 of 46. PageID #: 17645



functions, i.e., taxes, even if those injuries are not competitive or commercial.” Opp. 37. But the

County quotes a snippet from Welborn out of context while disregarding its actual holding.

       In Welborn, officials responsible for maintaining local land records brought RICO claims

alleging that fraudulent statements “caused fewer filings in their offices, which in turn injured

them by decreasing fee revenues.” 557 F. App’x at 386. The court dismissed those claims as not

“legally cognizable,” explaining that, “[w]hen the government sues under the civil RICO statute,

the ‘business or property’ element requires that the injury ‘refer to commercial interests or

enterprises.’” Id. at 387–88 & n.4. Applying that rule, the court reasoned that the fees generated

by the land recording systems did not “serve a revenue-generating function” that amounted to

“commercial activity,” but rather “a public service” that constituted “a governmental function.”

Id. at 387. Welborn therefore does not hold that a local government may recover for lost taxes or

other non-commercial injuries; it holds precisely the opposite.

       The three additional cases the Opposition cites do not support a different conclusion. In

County of Oakland v. City of Detroit, 866 F.2d 839 (6th Cir. 1989), the county sued, not in its

governmental capacity, but in a commercial capacity as a purchaser of sewer services from

Detroit. Id. at 848–51. Thus, the Sixth Circuit’s decision is entirely consistent with the rule that

a local government may assert a RICO claim to vindicate its interests as a market participant, but

not when it acts in its “sovereign or quasi-sovereign capacity” to “enforce the laws or promote

the public well-being.” Canyon Cty., 519 F.3d at 976; accord Welborn, 557 F. App’x at 387.

The Seventh Circuit’s 33-year old decision in Illinois Department of Revenue v. Phillips, 771

F.2d 312, 314, 317 (7th Cir. 1985), was expressly rejected by the Sixth Circuit in a case

involving “quite similar” circumstances. Michigan v. Fawaz, 848 F.2d 194, 1988 WL 44736, at

*2 (6th Cir. May 9, 1988) (unpublished table decision) (“Because our ‘doubts’ have ripened into




                                                 5
  Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 14 of 46. PageID #: 17646



a conviction that RICO does not apply to the circumstances of this case, we are not persuaded to

adopt the reasoning of [Phillips].”). Finally, City of New York v. Smokes-Spirits.com, Inc., 541

F.3d 425, 445 (2d Cir. 2008), decided by a divided panel, is at odds with a prior opinion by a

different Second Circuit panel and was reversed by the Supreme Court. See Hemi Grp., LLC v.

City of New York., 559 U.S. 1, 8 (2010).

       B.      The County Fails To Allege a Direct Injury.

       None of the derivative injuries asserted by the County in its Complaint—and certainly

not the “lost tax revenue” on which the Opposition is focused—was the direct result of

Distributors’ alleged conduct. This compels dismissal of both the RICO and OCPA claims.

               1.     The direct injury rule bars the County’s RICO claim.

       The Opposition repeatedly asserts that the County was “directly injured” by defendants’

alleged conduct. E.g., Opp. 35–45. But saying it does not make it so, and the County’s ipse dixit

cannot replace well-pled factual allegations of a plausible direct injury. See Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007). Neither the Complaint nor the Opposition adequately sets

forth facts showing that the County was harmed as a direct result of Distributors’ alleged

predicate acts. See, e.g., Holmes v. Sec. Inv’r Prot. Corp., 503 U.S. 258, 268 (1992).

       To state the County’s theory of causation is to show that it impermissibly “go[es] beyond

the first step.” Id. at 271. According to the Opposition, the core of Distributors’ alleged

misconduct consists of “fraudulent[] omissions,” i.e., not reporting suspicious orders to the DEA.

Opp. 30–31. But the Opposition makes no effort to explain how Distributors’ alleged failure to

report unidentified suspicious orders directly caused the County’s loss of tax revenues (or any

other of its alleged injuries). Even if Distributors “flooded” all the pharmacies in Summit

County with opioids, those medications would sit on the pharmacy shelves, and there would be

no possible reduction in tax revenue or increase in law enforcement expenses without (i) doctors


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  Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 15 of 46. PageID #: 17647



who mis-prescribed opioid medications, (ii) pharmacists who dispensed the medicines to those

who should not have received them, and/or (iii) individuals who misused the medications. Only

because of the conduct of those third parties could harm occur resulting ultimately in a reduction

of property values or an increase in crime in the County. This attenuated chain of causation goes

well beyond what the case law allows. See Hemi, 559 U.S. at 10–11 (substantially more direct

claim for “lost tax revenue” held to be too “attenuated”); see also Br. 11–16.

       Wallace v. Midwest Financial & Mortgage Services, Inc., 714 F.3d 414 (6th Cir. 2013),

is not to the contrary. There, because the plaintiff alleged that he would not have refinanced his

mortgage had its appraised value not increased, the court held that the fraudulent appraisal

procured by the defendant bank could have “led directly” to the plaintiffs’ decision to refinance.

Id. at 416–20. Unlike the County’s allegations against Distributors here, it was possible in

Wallace “to trace a straight line between the alleged fraud and the asserted injury.” Id.

       Bridge v. Phoenix Bond & Indemnity Co., 553 U.S. 639 (2008), also is readily

distinguishable. The court in Bridge held merely that first-party reliance is not invariably

required in order to establish proximate causation. Id. at 656–58. As the Supreme Court

explained in Hemi, moreover, the causal link in Bridge was “straightforward”: it involved a

direct and easily identifiable connection between the fraud at issue and the plaintiffs’ injury; the

plaintiffs “were the only parties injured by [defendants’] misrepresentations”; and there were “no

independent factors that account[ed] for [the plaintiff’s] injury.” Hemi, 559 U.S. at 14–15

(emphasis omitted) (second and third alterations in original).

       The County’s reliance on In re Neurontin Marketing & Sales Practices Litigation, 712

F.3d 21, 28 (1st Cir. 2013) is likewise unavailing.        There, the plaintiffs alleged that the

manufacturers conspired with “a web of entities to market a dangerous prescription drug for off-




                                                 7
    Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 16 of 46. PageID #: 17648



label use, deceiving doctors into prescribing it widely.” Opp. 25. The court held that the

intervening conduct of physicians did not break the causal chain because the manufacturers

targeted doctors with a “fraudulent marketing” scheme designed and intended to influence the

prescribing decisions of doctors. Neurontin, 712 F.3d at 39. The Complaint contains no factual

allegations that Distributors worked in concert with front groups or “key opinion leaders,”

marketed opioid products to doctors, or did anything else to deceive doctors into prescribing

opioids. That case therefore is inapposite to the claims against Distributors.

         Finally, the Court should reject the County’s assertion that it adequately has pled

proximate causation because it has alleged that its injury was a foreseeable consequence of

Distributors’ alleged conduct. Opp. 41–42. Even if that were true, it would not save the

County’s claims.       As the Supreme Court has explained, the concepts of directness and

foreseeability are distinct, and in the RICO context it is not enough even to allege that an indirect

injury was the “foreseeable” and “intended” consequence of the defendants’ conduct. Hemi, 559

U.S. at 12; accord Bank of Am. Corp. v. City of Miami, 137 S. Ct. 1296, 1306 (2017)

(“foreseeability alone does not ensure the close connection that proximate cause requires”). 2

                 2.      The direct injury rule bars the County’s OCPA claim.

         The direct injury rule also bars the County’s OCPA claim. The County asserts that minor

differences in the OCPA’s language excuse it from pleading proximate causation in accordance

with Holmes and its progeny. Opp. 65. But several Ohio appellate decisions belie that assertion.

         In 2005, the Ohio Court of Appeals held that, because the OCPA “is patterned after the

federal RICO law, we adopt the same position as that in Holmes[], which requires proof of
2
     The County cites City of Miami to argue against dismissal “at this early stage.” Opp. 39. The case,
     however, does not hold that it is inappropriate to dismiss a complaint on proximate causation grounds
     on a Rule 12(b)(6) motion—it plainly is. See, e.g., Hemi, 559 U.S. at 21. Instead, the remand in City
     of Miami merely reflected the Supreme Court’s established practice not to consider in the first
     instance questions that were not passed on by the courts below. See 137 S. Ct. at 1306.


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    Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 17 of 46. PageID #: 17649



proximate cause in an OPCA claim.” Herakovic v. Catholic Diocese of Cleveland, 2005 WL

3007145, at *5 (Ohio Ct. App. Nov. 10, 2005) (footnote omitted). The Court of Appeals

reiterated this rule in 2013, holding that “[t]he same proximate cause requirements”—i.e., “the

‘direct relation’ test set forth in Holmes”—apply to both RICO and OCPA claims. Cleveland v.

JP Morgan Chase Bank, N.A., 2013 WL 1183332, at *5 (Ohio Ct. App. Mar. 21, 2013). 3

         “[A] federal court may not disregard a decision of the state appellate court on point,

unless it is convinced by other persuasive data that the highest court of the state would decide

otherwise.” Puckett v. Tenn. Eastman Co., 889 F.2d 1481, 1485 (6th Cir. 1989). The County

fails to identify any persuasive reason to disregard the clear court of appeals decisions cited

above. 4 The Ohio Supreme Court, moreover, “has adopted the Holmes Court’s proximate cause

analysis,” City of Cleveland v. Ameriquest Mort. Sec., Inc., 615 F.3d 496, 503 (6th Cir. 2010),

and it would make no sense to conclude that the applicable standard for pleading causation under

the OCPA is less demanding than the default common law rule. This Court therefore should

hold that the Holmes direct injury test applies to the County’s OCPA claim, and thus that the

OCPA claim fails for the same reasons that the RICO claim failed. See supra Part I.B.1.




3
     See also CSAHA/UHHS-Canton, Inc. v. Aultman Health Found., 2012 WL 750972, at *9 (Ohio Ct.
     App. Mar. 5, 2012) (per curiam) (“[A] plaintiff bringing a claim under [the OCPA] must prove its
     damages were proximately caused by the defendant’s corrupt activity.”); Lesick v. Manning, 1992
     WL 380284, at *3 (Ohio Ct. App. Dec. 17, 1992) (“[T]his court does not reach the conclusion that a
     person is relieved of the burden of demonstrating that the illegal conduct proximately caused their
     injury.”); Bradley v. Miller, 96 F. Supp. 3d 753, 774 (S.D. Ohio 2015) (“Ohio courts apply traditional
     notions of proximate cause to civil OCPA actions.”).
4
     The County cites comments to pattern jury instructions, Opp. 66, but they are “not binding legal
     authority” in Ohio. E.g., State v. Gardner, 2008-Ohio-2787, ¶ 97, 889 N.E.2d 995, 1016 (Ohio
     2008).


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  Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 18 of 46. PageID #: 17650



       C.      The County Fails To Allege “Racketeering Activity” or “Corrupt Activity.”

               1.      The Complaint does not allege “racketeering activity.”

       The County argues that (1) it has properly pled that Distributors committed mail or wire

fraud, Opp. 30–34, and (2) CSA violations are predicate acts, Opp. 59–64. That is not so.

       Mail and Wire Fraud. The County’s mail and wire fraud allegations fail for two

reasons. First, the County does not dispute that it must plead that Distributors acted with the

specific “intent to deprive [the County] of money or property.” Br. 17; O’Brien v. Price

Waterhouse, 740 F. Supp. 276, 280 (S.D.N.Y. 1990) (holding that “[a]llegations of negligence

are insufficient”), aff’d sub nom. O’Brien v. Nat’l Prop. Analysts Partners, 936 F.2d 674 (2d Cir.

1991). The County fails to identify any allegation that satisfies this obligation.

       Second, the County does not allege with the requisite particularity that Distributors

committed predicate acts of mail or wire fraud. “When bringing a RICO claim against multiple

defendants, the plaintiff must allege that each defendant committed two or more predicate acts.”

Shetiwy v. Midland Credit Mgmt., 15 F. Supp. 3d 437, 443 (S.D.N.Y. 2014). Plaintiffs “cannot

satisfy Rule 9(b) by masking the lack of factual allegations against each defendant through broad

allegations which combine the acts of several defendants to create the impression that all

engaged in every aspect of the alleged fraud.” O’Brien v. Nat’l Prop. Analysts Partners, 719 F.

Supp. 222, 229 (S.D.N.Y. 1989). “Even Rule 8(a) pleading requires plaintiffs to identify the

specific defendant charged with committing a particular predicate act, rather than collectivizing a

group of defendants as plaintiffs have done here.” Merrill Lynch, Pierce, Fenner & Smith, Inc.

v. Young, 1994 WL 88129, at *15 (S.D.N.Y. Mar. 15, 1994).

       The County obfuscates its failure to identify predicate acts by Distributors by asserting

that “Defendants” or “Supply Chain Defendants” engaged in fraudulent conduct. Opp. 25, 30–




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    Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 19 of 46. PageID #: 17651



31, 41, 43. 5     But in the rare instance where the County purports to identify “specific

misrepresentations and omissions made by each of the Distributor[s],” Opp. 35 (citing Compl.

¶¶ 175–184), a review of the cited paragraphs reveals that they do not relate to Distributors at all,

only Manufacturers. The County thus fails to meet its most basic RICO pleading obligation—

alleging “at least two acts of racketeering activity” by Distributors.

         The County cites United States ex rel. Bledsoe v. Community Health Systems, Inc., 501

F.3d 493, 509 (6th Cir. 2007), for the proposition that it should be “excused” from Rule 9(b),

Opp. 33, but Bledsoe holds just the opposite. Although a plaintiff need not identify the who,

what, where, when, and how of every fraudulent statement in cases involving “many allegedly

false claims over a substantial period of time,” the Sixth Circuit made clear that a pleading must

at least (1) allege the “fraudulent scheme with particularity,” and (2) provide representative

“examples of specific false claims” made by each defendant. 501 F.3d at 510; see United States

ex rel. Hirt v. Walgreen Co., 846 F.3d 879, 881 (6th Cir. 2017) (“We have no more authority to

‘relax’ the pleading standard established by Civil Rule 9(b) than we do to increase it.”).

         One can read the 326-page Complaint in vain for “examples of specific false claims”

made by a Distributor. It does not identify even a single pharmacy in the County that ever

placed a “suspicious order,” nor does it identify with specificity a single mailing or wire

allegedly sent by a Distributor—let alone explain what was false about the communication or

how it furthered the alleged fraudulent scheme.




5
     The allegations cited by the County either (1) relate exclusively to the conduct of the Manufacturers,
     Opp. 28–29, 34–35 (citing Compl. ¶¶ 155–58, 181–84, 414, 516, 520–21, 555–70, 581, 660–66, 688–
     89, 694–95, 849–54, 856, 859–61, 867–70, 875, 920–22, 928); (2) are wholly conclusory, Opp. 30–
     31, 33–34 (citing Compl. ¶¶ 526-30, 688-89, 701-02, 705, 708, 769-70, 772, 849-50, 852-56, 859-63,
     866–67, 870–72, 920–22, 928); or (3) do not plausibly constitute predicate acts of fraud, Opp. 31
     (citing Compl. ¶¶ 579–606, 684–708, 772, 775, 856, 858–59).


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    Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 20 of 46. PageID #: 17652



         The Complaint also fails to plead with particularity a coherent “fraudulent scheme”

involving Distributors. While the County asserts that Distributors failed to file (unspecified)

suspicious order reports, the Opposition does not explain how this purported failure constitutes

mail or wire fraud. See Ayres v. Gen. Motors Corp., 234 F.3d 514, 521–25 (11th Cir. 2000)

(alleged failure to make required Safety Act reports to government not actionable under mail and

wire fraud statutes). Nor is it plausible that Distributors’ alleged failure constitutes fraud, given

that Distributors (via the ARCOS database) undisputedly reported “‘every sale, delivery or other

disposal’” to the federal government. See Br. 5 (quoting 21 U.S.C. § 827(d)(1)); see also Atkins

v. Hibernia Corp., 182 F.3d 320, 326 (5th Cir. 1999) (no claim for mail or wire fraud where

“[a]ll of the information that the Plaintiffs contend was omitted was in fact revealed”). 6

         The Opposition asserts that Distributors “made false statements about their compliance

with the CSA obligations to identify and report suspicious orders,” Opp. 67, but the Complaint

fails to identify any such statement with the requisite specificity. 7 Nor does the Opposition

explain how generic public statements regarding the efficacy of Distributors’ suspicious order

reporting systems or their commitment to preventing diversion could conceivably constitute

criminal mail or wire fraud. They cannot. 8


6
     “Suspicious” orders are a subset of what Distributors reported (“every sale, delivery or other
     disposal” of prescription opioids).
7
     According to the County, it need not identify these statements with particularity because the
     information is within “Distributor[s’] knowledge.” Opp. 32. But the alleged public statements are
     plainly not within the exclusive knowledge and control of Distributors. There thus is no basis on
     which to relieve the County of its obligation to plead these purported statements with particularity.
     See, e.g., United States ex rel. Conteh v. IKON Office Sols., Inc., 103 F. Supp. 3d 59, 66 (D.D.C.
     2015) (no exception to particularity requirements applied where paystubs supposedly “solely within
     [the defendant’s] possession and control” were actually available to plaintiff); United States ex rel.
     Barmak v. Sutter Corp., 2003 WL 21436213, at *4, *6 (S.D.N.Y. June 20, 2003) (dismissing where
     details were allegedly “within the defendants’ exclusive or particular control,” but “other entities also
     possess[ed] th[e] information” and defendant “failed to exhaust all avenues for obtaining” it).
8
     See, e.g., Corley v. Rosewood Care Ctr., Inc. of Peoria, 388 F.3d 990, 1009 (7th Cir. 2004) (rejecting
     RICO claim predicated on mail fraud because “[a] generic promise to provide ‘high quality’ services”


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    Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 21 of 46. PageID #: 17653



        Finally, the Opposition also argues that Distributors engaged in “lobbying and other

activities” designed to influence Congress and federal regulators. Opp. 43. These allegations

cannot give rise to a RICO claim; the Noerr-Pennington doctrine provides that speech designed

to influence government action cannot serve as RICO predicate acts of mail or wire fraud. Singh

v. NYCTL 2009-A Tr., 683 F. App'x 76, 77 (2d Cir. 2017) (Noerr Pennington “protects efforts to

influence governmental action through litigation and lobbying.”); Sosa v. DIRECTV, Inc., 437

F.3d 923 (9th Cir. 2006) (allegedly false statements in made in the course of petitioning activity

cannot serve as RICO predicate acts of mail or wire fraud). 9

        Controlled Substances Act Violations. The County’s argument that violations of 21

U.S.C. § 843(a)(4) constitute RICO predicate acts borders on the frivolous. Section 843(a)(4)

makes it unlawful to “furnish false or fraudulent information in, or omit any material information

from, any application, report, record, or other document required to be made, kept, or filed.”

The County asserts that a violation of Section 843(a)(4) falls within the RICO statute’s ambit,

which includes among its enumerated predicate acts the “felonious manufacture, importation,

receiving, concealment, buying, selling, or otherwise dealing in a controlled substance.” 18

U.S.C. § 1961(1)(D). Opp. 63. But the felonious “concealment” that is actionable under Section

1961(1)(D) has to do with the drugs themselves, not recordkeeping. United States v. Veal, 23




     cannot “be the basis of a mail fraud claim”); Walther v. Patel, 2011 WL 382752, at *7 (E.D. Pa. Feb.
     4, 2011) (dismissing RICO claim because representations that “services to be rendered were of high
     quality [and] well above minimal standards of acceptable care” were “not actionable as mail or wire
     fraud”).
9
     The County’s suggestion that Distributors “appl[ied] for ever increasing quotas governing
     prescription opioids,” Opp. 58, makes no sense. Manufacturers, not Distributors, submit the quota
     applications referenced in the Complaint, and DEA sets the quotas. 21 C.F.R. §§ 1303.21-.23; see
     generally https://www.deadiversion.usdoj.gov/quotas/quota_apps.htm. Even if true, Distributors’
     actions would be protected under the Noerr Pennington doctrine.


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     Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 22 of 46. PageID #: 17654



F.3d 985 (6th Cir. 1994) (holding that ultimate fate of controlled substances, i.e., whether they

were diverted to illegal use, has no bearing on Section 843(a)(4) “recordkeeping charges”).

                  2.        The Complaint does not allege “corrupt activity.”

          The County agrees that the RICO and OCPA pleading requirements are identical. Opp.

66–67. The OCPA claim thus fails for the reasons the RICO claims fail. Part I.C.1.

          The OCPA claim also fails because the Complaint does not allege “at least one incident

other than a violation of” the federal mail and wire fraud statutes.                  See Ohio Rev. Code

§ 2923.34(A); see also Br. at 20. Setting aside its facially infirm assertion that CSA violations

constitute RICO predicate acts, supra pp. 14–15, the County makes no effort to argue that it has

identified any predicate acts that could not be pled as mail or wire fraud. Instead, the County

argues that it has complied with Section 2923.34(A) merely by invoking Ohio’s prohibition on

telecommunications fraud. Opp. 68. But Section 2923.34(A) is not satisfied here, where the

only “incidents” alleged by the County are purported omissions and misstatements made by

Distributors in connection with their regulatory obligation to report suspicious orders—incidents

that the County itself has claimed violate the mail and wire fraud statutes. Because the “factual

allegations which comprise the elements of [the County’s telecommunications fraud claim] also

comprise the elements of mail [and wire] fraud,” the OCPA claim should be dismissed. Rahimi

v. St. Elizabeth Med. Ctr., 1997 WL 33426269, at *2 n.1 (S.D. Ohio July 16, 1997) (“[T]he

Plaintiff must be able to point to an incident of corrupt activity that is not actionable under laws

which prohibit mail [or] wire fraud.”). 10



10
      None of the cases cited by the County (Opp. 68–69) is to the contrary. In those cases, the plaintiffs
      alleged predicate acts that—unlike telecommunications fraud—include materially different elements
      than mail or wire fraud. See Canterbury, 2001 WL 1681132, at *10 (extortion and theft); Bradley,
      2013 WL 13268688, at *7 (money laundering). The County makes no effort to explain why the
      factual allegations in those cases adequately pled violations of the mail or wire fraud statutes, or could


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     Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 23 of 46. PageID #: 17655



          The County’s reading of Ohio Rev. Code § 2923.34(A) also does not comport with basic

rules of statutory construction. Any activity constituting mail or wire fraud under federal law

also constitutes telecommunications fraud under Ohio law. Compare Ohio Rev. Code § 2913.05

with 18 U.S.C. §§ 1341, 1343. Thus, if the County’s reading of the statute were right, Section

2923.34(A) would be meaningless—it would always be possible to comply with its requirement

merely by relabeling a claim for mail or wire fraud as a claim for telecommunications fraud.

That is not a sensible reading of the statute. In re Foreclosure of Liens for Delinquent Land

Taxes, 2014-Ohio-3656, ¶ 16, 18 N.E.3d 1151, 1156 (Ohio 2014) (rejecting interpretation that

“would cause the language and meaning of the … provision to be superfluous”).

          In short, because the County fails to allege as a “corrupt activity” at least one incident

that could not be charged as mail or wire fraud, its OCPA claim fails as a matter of law.

          D.      The County Fails To Allege Participation in an Enterprise.

          The County failed plausibly to allege that Distributors played a part in directing the

affairs of the alleged criminal enterprise, and its arguments to the contrary are unavailing. 11

          As the County concedes, allegations of merely parallel conduct or routine business

relationships are insufficient to establish the existence of an enterprise. Opp. 58–59. The fact

that Distributors share a trade association, for example, does not give rise to a RICO claim. Am.

Dental Ass’n v. Cigna Corp., 605 F.3d 1283, 1295–96 (11th Cir. 2010) (“participation in trade

organizations provides no indication of conspiracy”); Moss v. BMO Harris Bank, N.A., 258 F.

Supp. 3d 289, 301 n.4 (E.D.N.Y. 2017) (similar).



      be recast to do so. In fact, in Canterbury, the court expressly held the complaint did not adequately
      plead mail or wire fraud. 2001 WL 1681132, at *11-12.
11
      The County asserts that Distributors “waived” the argument that there was no Opioid Supply Chain
      Enterprise. Opp. 57 n.38. Case Management Order One [Dkt. 232] provides otherwise. Also,
      Distributors incorporated the Manufacturers’ arguments by reference. Br. 3 n.8.


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  Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 24 of 46. PageID #: 17656



       The County responds that Distributors failed to report suspicious orders and made public

statements indicating that they were complying with their regulatory reporting obligations. Opp.

58–59. But the County does not explain how those allegations go beyond the parallel conduct

that it concedes is insufficient—nor could it. While the County also argues that Distributors

engaged in anti-competitive conduct—i.e., not reporting suspicious orders filled by their

competitors, see id.—it fails to identify any well-pled factual allegations indicating that

Distributors had access to information that would enable them to determine what orders were

filled by their competitors or whether those orders were “suspicious.”

II.    THE COUNTY’S PUBLIC NUISANCE CLAIMS SHOULD BE DISMISSED.

       A.      The OPLA Bars the County’s Public Nuisance Claims.

       In 2005, after Beretta allowed negligence and public nuisance claims against gun

manufacturers, the General Assembly amended the OPLA to abrogate all common-law product

liability claims. Br. 22–23. In 2007, the General Assembly amended the OPLA again, this time

abrogating “any public nuisance claim or cause of action at common law” alleging that a product

interfered with a public right. Id. The 2007 Amendment bars the County’s nuisance claims.

               1.      Absolute public nuisance.

       The County concedes that the OPLA requires dismissal of what they call “legal public

nuisance claims.” Opp. 20. The County purports instead to bring an “equitable nuisance claim,”

which it contends is not covered by the OPLA. Id. As support, the County argues that (1) there

is a distinction between legal and equitable nuisance; (2) the legislature did not overrule Beretta;

and (3) the 2007 Amendment applies only to claims for compensatory damages. Id. at 19–20.

The County is wrong in all respects.

       First, the Opposition’s distinction between legal and equitable nuisance is baseless. The

Ohio Supreme Court long ago held that “[t]here is no such thing as an equitable nuisance.”


                                                16
     Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 25 of 46. PageID #: 17657



Salem Iron Co. v. Hyland, 77 N.E. 751, 752 (Ohio 1906). Nuisance is “a theory of recovery in

tort,” i.e., a legal claim. RWP, Inc. v. Fabrizi Trucking & Paving Co., 2006 WL 2777159, at *4

(Ohio Ct. App. Sept. 28, 2006); see also Brown v. Cty. Comm’rs of Scioto Cty., 622 N.E.2d

1153, 1158 (Ohio Ct. App. 1993) (public nuisance is a “field[] of tort liability”). Moreover, “the

distinction between legal and equitable causes of action [has] been abolished” in Ohio. Hodges

v. Ettinger, 189 N.E. 113, 115 (Ohio 1934). Thus, in conceding that the OPLA applies to “legal

public nuisance claims,” the County effectively concedes that it applies to all public nuisance

claims, regardless of the nature of relief sought. See Salem Iron Co., 77 N.E. at 752 (“If the

plaintiff has no cause of action at law in the present case it can have none in equity ….”). 12

          Second, the Opposition all but ignores City of Toledo v. Sherwin-Williams Co., which

dismissed a nearly identical public nuisance claim mere months after the 2007 Amendment

became law. Br. 24. Toledo made the same argument as the Opposition—“that authority

allowing it to bring a public nuisance action to seek abatement of a condition that is injurious to

public health, safety, and welfare, is found in City of Cincinnati v. Beretta.” Sherwin-Williams,

2007 WL 4965044, at n.2 (Ohio Ct. Com. Pl., Lucas Cty. Dec. 12, 2007). The court disagreed:

              Beretta was decided … prior to the enactment of [the 2005 Amendment] which
              provided that the [OPLA] were intended to abrogate common law product liability
              causes of action. As noted above, the [2007 Amendment] intended to clarify the
              legislature[’]s original intent of including public nuisance claims within the OPLA.

Id.     The Opposition relegates Sherwin-Williams to a footnote and seeks to diminish its

significance on the basis that it was not appealed, has never been cited, and does not consider the

County’s statutory interpretation arguments. But the County misses the big picture: This


12
      Seeking equitable relief does not transform a legal claim into an equitable one. See, e.g., City of Niles
      v. Evans, 136 N.E.2d 177, 181 (Ohio Ct. Com. Pl., Trumbull Cty. 1955) (noting that equity may “help
      where the legal remedy is incomplete”); Salem Iron Co., 77 N.E. at 752 (“That nuisances are
      frequently enjoined results from the fact that they are frequently, if not usually, of such a nature as to
      present one of the recognized grounds of equitable jurisdiction ….”).


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     Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 26 of 46. PageID #: 17658



decision put a stop to the ongoing, statewide lead paint litigation because the Attorney General

dropped the State’s case, and every municipality that had sued did the same. Br. 24. Since

Sherwin-Williams, few litigants have even attempted to bring product-based public nuisance

claims, and the claims of those that have readily were dismissed. See, e.g., Hempy v. Breg, Inc.,

2012 WL 380119, at *2 (S.D. Ohio Feb. 6, 2012). 13

          Third, the County argues that language from the 2005 Amendment limiting product

liability claims to claims seeking “compensatory damages” should be imported into the wholly

separate definition added by the 2007 Amendments, Opp. 20, but offers no sensible explanation

why.     The 2005 Amendment defined product liability claims as claims for “compensatory

damages.” Ohio Rev. Code § 2307.71(13). The 2007 Amendment defined a separate category

of product liability claims, one that did not include the “compensatory damages” limitation. If

the General Assembly intended the County’s interpretation, it would have been a simple matter

to include the limitation as part of the 2007 Amendment. See Arcenio v. Youngstown State

Univ., 68 N.E.3d 157, 164 (Ohio Ct. App. 2016) (holding the exclusion of statutory language

was a “deliberate choice, not inadvertence” where the two statutes are “sufficiently related”).

                 2.      Statutory public nuisance.

          The County argues that the OPLA abrogates only common law nuisance claims, not

statutory public nuisance claims. Opp. 19. Not so. The 2007 Amendment states:

               “Product liability claim” also includes any public nuisance claim or cause of action
               at common law in which it is alleged that the design, manufacture, supply,
               marketing, distribution, promotion, advertising, labeling, or sale of a product
               unreasonably interferes with a right common to the general public.

Ohio Rev. Code § 2307.71(A)(13). The County misconstrues the definition by reading its two

13
      The County also contends that the legislature did not intend to overrule Beretta because the 2007
      Amendment was not “substantive.” Opp. 20. The 2007 Amendment was not substantive because it
      merely clarified the General Assembly’s original intent to include public nuisance claims within the
      scope of the 2005 Amendment, which plainly was substantive.


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  Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 27 of 46. PageID #: 17659



halves—“any public nuisance claim or cause of action at common law”—as one and the same.

In so doing, it ignores two basic rules of statutory construction.

       First, in Ohio, “[r]eferential and qualifying words and phrases, where no contrary

intention appears, refer solely to the last antecedent.” Indep. Ins. Agents of Ohio, Inc. v. Fabe,

587 N.E.2d 814, 817 (Ohio 1992). According to the last-antecedent rule, the limiting clause “at

common law” modifies only the phrase “cause of action”—not the phrase “public nuisance

claim.” Thus, the OPLA term “product liability claim” encompasses “any public nuisance

claim,” including statutory public nuisance claims.

       Second, not applying the last-antecedent rule would fail to give effect to, and render

superfluous, portions of the statute, thereby contravening the well-settled rule against surplusage.

See State ex rel. Carna v. Teays Valley Local Sch. Dist. Bd. of Educ., 967 N.E.2d 193, 198 (Ohio

2012). If “at common law” modified both “any public nuisance claim” and “cause of action,”

then the phrase “any public nuisance claim” would be redundant; it would add nothing to the

phrase “cause of action at common law.”

       B.      The County’s Absolute Public Nuisance Claim Fails in Any Event.

       Even without the OPLA (i.e., even if Beretta were good law still), the County’s absolute

public nuisance claim fails for two reasons. First, the County still has not identified a public

right with which Distributors interfered and suggests instead that a “significant interference with

public health”—a measure of unreasonableness, not a category of public right—is sufficient.

Second, the County misunderstands that licensed persons cannot be liable for absolute nuisance

(as distinct from qualified, which they have not pled), especially absent intentional conduct.

               1.      There is no public right to be free from addiction.

       As the Opposition rightly recognizes, conduct allegedly constituting a public nuisance

must “interfere with those who come in contact with it in the exercise of a public right.” Opp.


                                                 19
  Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 28 of 46. PageID #: 17660



11; Brown, 622 N.E.2d at 1158 (“[T]here must be some interference with a public right which is

common to all members of the general public.”). But the County fails to identify a public right.

According to the County, it pled interference with a public right by alleging that opioids have

had “widespread public health consequences” and that Defendants “interfered with the public

health in Akron and Summit County.” Opp. 6, 10. But this argument confuses the requirement

that an alleged nuisance interfere with a public right with the separate requirement that the

interference be unreasonable. See Beretta, 768 N.E.2d at 1142 (“‘Unreasonable interference’

includes those acts that significantly interfere with the public health, safety, peace, comfort, or

convenience.”).     Thus, while public nuisance law surely encompasses “acts that significantly

interfere with the public health,” that is true only if those acts interfere with a public right.

        Interference with “public health,” as that term is commonly used, may result from the

invasion of public or private rights—from contaminating a public water reservoir, on the one

hand, to a gas leak, on the other. The County does not satisfy the public right requirement

merely by pointing to the public health consequences of Distributors’ alleged conduct. A public

health crisis is actionable under nuisance law only if it results from the invasion of public rights.

Otherwise, the concept of “public right” would be “so broad and undefined that the presence of

any potentially dangerous instrumentality in the community could be deemed to threaten it.”

City of Chicago v. Beretta U.S.A., Corp., 821 N.E.2d 1099, 1116 (Ill. 2004).

        Finally, even if some portion of Beretta remains good law, the County’s reliance on that

case fails to account for important differences between handguns and prescription opioids. Gun

violence tragically and all-too-often interferes with innocent bystanders’ right to travel safely on

public roads and occupy public spaces, or with children’s right to attend public school. See

Beretta, 768 N.E.2d at 1151 (plaintiffs allege “an epidemic of handguns … has brought terror to




                                                   20
     Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 29 of 46. PageID #: 17661



the streets, schoolyards, playgrounds and homes of Cincinnati”). Thus, although most of the gun

cases were dismissed, the public nuisance claims presented a colorable public right. Not so here.

While guns can injure innocent people exercising public rights, prescription opioids threaten no

one, whether traveling on public roads or sitting at home, who does not choose to use them. 14

                 2.      Licensed distributors can be liable only for qualified public nuisance.

         Ohio law recognizes two branches of common law public nuisance. Absolute nuisance,

or nuisance per se, is a strict liability claim “based upon either intentional conduct or abnormally

dangerous conditions,” whereas qualified nuisance “is premised upon negligence.” Brown, 622

N.E.2d at 1159. Persons (like Distributors) that engage in highly-regulated conduct cannot be

liable under an absolute nuisance theory so long as they are duly licensed. Id. at 1158; State ex

rel. Schoener v. Bd. of Comm’rs of Hamilton Cty., 619 N.E.2d 2, 6 (Ohio Ct. App. 1992). The

County responds that Distributors’ actions “were not sanctioned by law and thus are not

protected under Brown,” Opp. 11, but this misunderstands the point of Brown and Schoener. 15

Defendants in both cases allegedly violated statutes and regulations, but nonetheless were held to

be immune from liability on an absolute nuisance theory because they were licensed. 16 As the

Schoener court explained, when an agency licenses a person to engage in certain conduct, Ohio



14
      The County erroneously suggests that “the number of people affected … alone can establish that a
      public nuisance exists.” Opp. 11. Settled Ohio law says otherwise. Brown v. Cty. Comm’rs of Scioto
      Cty., 622 N.E.2d 1153, 1158 (Ohio Ct. App. 1993) (“Conduct does not become a public nuisance
      merely because it interferes with a large number of people.”); Kramer v. Angel’s Path, LLC, 882
      N.E.2d 46, 52 (Ohio Ct. App. 2007) (“A public nuisance will not arise because a large number of
      people are affected; rather, it arises only when a public right has been affected.”).
15
      Moreover, alleged violations of the federal CSA cannot serve as a predicate for stating a state law
      nuisance claim. Buckman Co. v. Plaintiffs’ Legal Cmte., 531 U.S. 341 (2001); Marsh v. Genentech,
      Inc., 693 F.3d 546, 553 (6th Cir. 2012) (holding “failure to submit reports to the FDA that the FDA
      requires is arguably a species of fraud on the agency” that is preempted under Buckman).
16
      Brown, 622 N.E.2d at 1157 (noting that the “Ohio [EPA] cited the plant for violations”); Schoener,
      619 N.E.2d at 4 (“Plaintiffs asserted theories of nuisance, … and violation of the Ohio Solid and
      Hazardous Waste Disposal Act ….”).


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     Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 30 of 46. PageID #: 17662



law provides that the agency alone can police compliance with the regulatory scheme:

              [I]n order for a duly licensed and regulated sanitary landfill to be found liable for
              maintaining a nuisance, negligence must be established. A standard of strict liability
              is not appropriate under these circumstances, where the public policy of Ohio has
              clearly chosen to allow operators such as Rumpke to do business in this state subject
              to the limitations imposed under what can only be termed a comprehensive and
              vigilant regulatory scheme. Once an operator becomes licensed by the state, we
              think it fair to say in law that part of the quid pro quo for the submission to such
              exacting regulatory oversight is the operator’s insulation from liability under a
              theory of strict liability.

619 N.E.2d at 6.

         Here, the DEA and the Ohio BOP have licensed Distributors to distribute prescription

opioids to licensed pharmacies. Therefore, their distribution can give rise only to a qualified

public nuisance claim, which the County has not pled. Brown, 622 N.E.2d at 1160 (“In order for

a duly licensed and regulated sanitary landfill to be found liable for maintaining a nuisance,

negligence must be established, i.e., a qualified nuisance.”). 17 As for an absolute nuisance claim,

the County does not identify any intentional conduct by Distributors that could support it.

Brown, 622 N.E.2d. at 1159 (absolute nuisance is “based upon either intentional conduct or

abnormally dangerous conditions”); see Opp. 75 (“Defendants’ liability arises from their failure

to use reasonable care under the circumstances, not their failure to abide by … statutes.”).

         C.      The Statutory Public Nuisance Claims Should Be Dismissed or Limited.

         Summit County brings a statutory public nuisance claim pursuant to Ohio Rev. Code §

4729.35. The Opposition does not dispute that Section 4729.35 authorizes only injunctive relief.

Any claim for abatement costs and other monetary relief under Section 4729.35 fails. Br. 31–32.

         Akron’s statutory public nuisance claim should also be dismissed. Akron concedes that it

may not bring a claim pursuant to Section 4729.35, Opp. 15, but argues it may enforce the

17
      The County relies on City of Cleveland v. Ameriquest Mortg. Sec. Inc., Opp. 11–12, but that was a
      qualified public nuisance case. 621 F. Supp. 2d 513, 521 (N.D. Ohio 2009).


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  Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 31 of 46. PageID #: 17663



substance of that section—which defines violations of federal and state controlled substances

acts as public nuisances—pursuant to Sections 3767.03 and 715.44. Opp. 16. Section 4729.35

explicitly limits those who may maintain a public nuisance cause of action under the statute to

“the attorney general, the prosecuting attorney of any county … or the state board of pharmacy.”

Ohio Rev. Code § 4729.35. The County’s reading contravenes clear legislative intent.

III.   THE COUNTY’S NEGLIGENCE CLAIM SHOULD BE DISMISSED.

       A.      The OPLA Bars the County’s Negligence Claim.

       The County argues that its negligence claim is not a “product liability” claim under the

OPLA because the County seeks only economic damages. Opp. 88–90. This argument elevates

form over substance. The reality is that the County’s economic losses occurred only because its

residents suffered personal injuries from prescription opioids. Absent addiction of individuals

and the concomitant harms caused by the addicted individuals, the County would have suffered

no harm. Had these directly harmed individuals brought negligence claims against Distributors,

their claims unquestionably would be dismissed under the OPLA. Yet the County suggests that

its claim, which is identical in every respect—except that the harm is derivative and indirect—

should survive. The notion that downstream plaintiffs can bring common law negligence claims

that the directly injured plaintiff is barred from pursuing is absurd.

       After Beretta, the General Assembly amended the OPLA to abrogate all common law

product liability causes of action. Ohio Rev. Code § 2307.71(B); see 2004 Am. Sub. S.B. No.

80. Ohio courts have since consistently looked askance at efforts to plead around the OPLA and,

in applying the Act, focus on the nature of the allegations. See Stratford v. SmithKline Beecham

Corp., 2008 WL 2491965, at *5 (S.D. Ohio June 17, 2008) (“The actionable conduct that forms

the basis of the negligence claim … is the same conduct that the OPLA defines as giving rise to a

‘products liability claim.’”). Where the allegations concern defective products and harm other


                                                  23
     Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 32 of 46. PageID #: 17664



than to the product itself, the courts have held that the OPLA applies. The allegations do not

shed their character as a product liability claim merely because the plaintiff seeks to recover only

downstream economic losses. Mitchell v. Proctor & Gamble, 2010 WL 728777, at *4 (S.D.

Ohio Mar. 1, 2010) (“[Plaintiffs] cannot separate out [their] claims from the purview of the

OPLA simply by claiming only economic losses.”). 18

          These post-Beretta, post-2005 Amendment cases establish the OPLA’s scope. Yet the

Opposition ignores them. It instead cites two cases for a proposition about which both parties

agree—that the OPLA does not cover “claims for purely economic loss caused by defective

products.” LaPuma v. Collinwood Concrete, 661 N.E.2d 714, 716 (Ohio 1996); Volovetz v.

Tremco Barrier Sols., Inc., 74 N.E.3d 743, 744 n.4 (Ohio Ct. App. 2016). 19

          Ultimately, the County’s position highlights what Distributors have said all along: These

are the wrong plaintiffs. Even assuming that Distributors caused injury by distributing opioids,

then the injured users of those opioids are the proper parties. After Beretta, the General

Assembly decided that such parties should proceed under the OPLA. To allow the County to

bring a claim that those proper parties could not would frustrate that legislative judgment.

          B.     The Complaint Fails Adequately To Allege Duty.

          The Opposition’s argument regarding duty is flawed in four respects. First, contrary to

the County’s assertion, Opp. 70, the question of whether a duty exists is not a question of fact for


18
      See McKinney v. Microsoft Corp., 2011 WL 13228141, at *7 (S.D. Ohio May 12, 2011) (dismissing
      negligence claim for purely economic damages as abrogated by the OPLA); Chem. Solvents, Inc. v.
      Advantage Eng'g, Inc., 2011 WL 1326034, at *12–13 (N.D. Ohio Apr. 6, 2011) (dismissing plaintiff’s
      implied warranty claim for purely economic damages as abrogated by the OPLA; allowing negligent
      workmanship claim because it was “premised upon subsequent negligent actions”).
19
      Both cases are inapposite. LaPuma involved damages that “relate[d] solely to the product itself.”
      The concurrence made clear that the case stands for the proposition that this “very narrow class” of
      claims escapes the OPLA’s broad abrogation of common law claims. Id. at 717 (Cook, J.,
      concurring). Volovetz held that the OPLA did apply to the negligence claim, because the plaintiff
      sought “damages for property other than the defective product.” Id. at 744 & n.4.


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     Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 33 of 46. PageID #: 17665



the jury. “The duty element of negligence … is a question of law for the court to determine.”

Wallace v. Ohio Dep’t of Commerce, 773 N.E.2d 1018, 1026 (Ohio 2002).

          Second, while Distributors undeniably have regulatory obligations pursuant to state and

federal law, the law is clear that (i) only the federal and state governments can sue to enforce

them and (ii) there is no private right of action. Br. 36–38. The Opposition argues that the

County relies on state and federal regulations to “inform[] the standard of care,” not as

establishing Distributors’ duties. Opp. 75. But that is not what the Complaint says. It cites the

statutes and regulations for the “duties” they allegedly create. 20 This disingenuousness aside, the

County’s problem is that it cannot identify a preexisting, parallel common law duty to report or

halt shipment of suspicious orders. Thus, while it may be correct that “the existence of a parallel

statutory duty does not in any way undermine an existing common law claim,” id., a duty to

report suspicious orders to the DEA or the Ohio BOP has never existed at common law—it is

purely a creature of statute and regulation. If the duty were known at common law, it would be a

simple matter for the County to cite an Ohio case recognizing it, yet the Opposition cites none. 21




20
      Compl. ¶ 107 (Distributors have a “fundamental duty … to detect and warn of diversion of dangerous
      drugs”); id. ¶ 684 (“In addition to the duties imposed by federal law, under Ohio law, distributors
      have a duty to detect, investigate, refuse to fill, and report suspicious orders of opioids.”).
21
      The Opposition misunderstands the cases Distributors cited on this point, arguing that they involved
      plaintiffs “specifically attempt[ing] to sue for statutory breaches.” Opp. 76 & n.49. In fact, plaintiffs
      in those cases alleged negligence or negligence per se, and cited statutes or regulations as the source
      of defendants’ purported duties. Their claims failed because the statutes and regulations did not
      themselves create private rights of action, and allowing enforcement through common law negligence
      would violate legislative intent. Myers v. United States, 17 F.3d 890, 901 (6th Cir. 1994); Tekavec v.
      Van Waters & Rogers, Inc., 12 F. Supp. 2d 672, 682–83 (N.D. Ohio 1998); see In re E.I. du Pont de
      Nemours & Co. C-8 Pers. Injury Litig., 2015 WL 4092866, at *23–25 (S.D. Ohio July 6, 2015)
      (“[R]ecognition of state law negligence per se claims under these federal statutes is in essence
      permitting a private cause of action where Congress intended none to lie.”); Cuyler v. United States,
      362 F.3d 949, 952 (7th Cir. 2004) (explaining state common law—not statute—must supply duty in
      negligence claim). Similarly here, the County points to statutes that lack a private right of action—
      the federal and Ohio CSA—as the basis for its negligence claims.


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  Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 34 of 46. PageID #: 17666



       Third, the Opposition fails to identify a duty running from Distributors to the County.

The question is not whether Distributors had some duty to someone, but whether they had a duty

to the County. Br. 42–43. According to the County, a duty runs to it merely because the harm it

purportedly suffered was “foreseeable.” But the County’s discussion of foreseeability relates

exclusively to Manufacturers, a fact the Opposition masks by referring repeatedly to

“Defendants.”   The Opposition’s theme is that deceptive marketing of prescription opioids

encouraged their over-use and mis-use:

           Manufacturer Defendants … pursu[ed] a deceptive marketing scheme that was
           designed to, and successfully did, change the perception of opioids and
           cause[d] their prescribing sales to skyrocket; and mis[led] doctors and the
           public about the risks and benefits of opioids, including minimizing the risks of
           addiction and overdose ….

           The Opioid Marketing Enterprise … relied on front groups and key opinion
           leaders to spread pseudo-science that fostered opioid addiction ….

           Plaintiffs allege a multi-drug, false marketing scheme … in order to profit from
           increasing demand for opioids created by affirmatively and categorically
           misrepresenting the dangers of prescription opioid use.

Opp. 12, 25, 49. The Complaint alleges that Manufacturers engaged in this deceptive marketing

to doctors. When the Opposition says that “Defendants themselves engaged in conduct the

foreseeable result of which was to cause harm to Plaintiffs,” it cites 95 paragraphs of the

Complaint that refer to alleged messaging and marketing “to encourage and pay doctors for

increasing their prescriptions of opioids.” Opp. 73–74. And, in summing up, the Opposition

argues that “the harms resulted from the over-prescribing and over-use of opioid[s], and not only

their abuse ….” Opp. 74. Thus, while the Complaint may attempt to connect the Manufacturers’

alleged conduct to the alleged harm and allege that, if Manufacturers directly and deceptively

marketed prescription opioids to doctors, then it was foreseeable to them that doctors would




                                               26
     Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 35 of 46. PageID #: 17667



over-prescribe the drugs, no comparable allegations connect Distributors’ conduct to the over-

prescription of opioids.

          Had the Complaint alleged that Distributors failed to keep prescription opioids under lock

and key, as required, diversion would be foreseeable. Had it alleged that Distributors supplied

the drugs to unlicensed pharmacies, diversion would be foreseeable.                  Had it alleged that

Distributors determined, when conducting site inspections, that a pharmacy did not have doctors’

scripts to back up its orders, diversion would be foreseeable. But the Complaint alleges none of

these things. When DEA was year after year increasing the quota for prescription opioids,

Distributors had no reason to foresee harm by supplying the drugs to licensed pharmacies, which

were filling legitimate prescriptions, and where DEA knew (as no Distributor did) the total

amount of drugs going to each pharmacy, city, county, and state.

          Finally, Beretta does not change this result. The Opposition argues that Beretta is

“squarely on point and controlling,” Opp. 72, but this claims too much for a decision that the

General Assembly effectively overruled, that the Supreme Court itself has not cited since for any

substantive proposition, and which was out of step at the time with the great majority of “gun

case” decisions.        Those considerations aside, Beretta is distinguishable.             The principal

defendants in Beretta were fifteen firearms manufacturers. 762 N.E.2d at 1140. 22 The Court

held that the manufacturers had a duty to design guns in a way that would not lead to an illegal

secondary market. Id. at 1144. Specifically, the Court noted that it would have been feasible for

manufacturers to prevent “unauthorized users” from firing guns by incorporating safety features

to “personalize” the guns (i.e., to make it impossible for anyone other than the original owner to

fire the gun), thereby eliminating the illegal secondary market. Id. at 1147 n.7; see id. at 1145

22
      While there was a single distributor defendant in Beretta, neither the parties’ briefs nor the Court’s
      opinion provided any separate analysis relating to the duties of that defendant.


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  Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 36 of 46. PageID #: 17668



(“[T]he question is whether a reasonably prudent gun manufacturer should have anticipated an

injury to the Plaintiffs as a probable result of manufacturing, marketing, and distributing a

product with an alleged negligent design[.]”). Only the gun manufacturers could have designed

guns to “personalize” them, and the harm from failing to do so was thus foreseeable only to

them. Thus, at most, Beretta stands for the proposition that manufacturers have an obligation to

incorporate feasible safety features into their products; it does nothing to establish a common law

duty on the part of wholesale distributors to report or halt suspicious orders.

IV.    THE DIRECT INJURY TEST REQUIRES DISMISSAL OF THE NEGLIGENCE
       AND NUISANCE CLAIMS.

       The Opposition misunderstands—and misapplies as to Distributors—the test for

proximate causation. The touchstone for proximate causation is direct injury, as explained by the

Supreme Court in Holmes. The Holmes test, moreover, was adopted by the Ohio Supreme

Court, as the Opposition acknowledges. Opp. 79. That test demands a “direct relation between

the injury asserted and the injurious conduct,” such that a plaintiff “who complain[s] of harm

flowing merely from the misfortunes visited upon a third person by the defendant’s acts [is]

generally said to stand at too remote a distance to recover.” Holmes, 503 U.S. at 268–69.

       The County is such a plaintiff because it complains of harm flowing from “the

misfortunes visited upon … third person[s].” Id. at 268. “Without injury to the individual

[opioid users], the [County] would not have incurred any increased costs.” Laborers Local 17

Health & Benefit Fund v. Philip Morris, Inc., 191 F.3d 229, 239 (2d Cir. 1999). Thus, had no

County residents become addicted to opioids—whether by reason of the Manufacturers’ alleged

over-promotion of the medications or otherwise—the County would have suffered no harm

because it would have paid not a penny more for addiction treatment or related public services.

       The Opposition falls back again on Beretta, asserting that “Plaintiff’s injuries are even



                                                 28
  Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 37 of 46. PageID #: 17669



more direct in this case than they were in Beretta.” Opp. 80. The contrary is true. The Beretta

court reasoned that the injuries alleged by Cincinnati were direct, not derivative, because “[e]ven

if no individual is harmed, Plaintiffs sustain many of the damages they allege due to the alleged

conduct of Defendants fueling an illicit market.” 768 N.E.2d at 1148 (quoting City of Boston v.

Smith & Wesson Corp., 2000 WL 1473568, at *6 (Mass. Super. Ct. July 13, 2000)). That was

because, even if no city residents were shot, the city still incurred additional law enforcement

costs when criminals had more guns. But the County makes clear that its harm results entirely

from providing public services to individuals affected by opioid misuse and abuse.

       Countless cases—cited by Distributors (see Br. 47 n.31) and ignored by the Opposition—

interpret the direct-injury test for proximate causation to mean that “[t]he general tendency of the

law … is not to go beyond the first step.” Holmes, 503 U.S. at 271. To understand how that test

applies here, however, this Court need not look further than the Sixth Circuit’s application of

Holmes in City of Cleveland v. Ameriquest Mortgage Securities.             The parallels between

Cleveland’s allegations (and rhetoric) and those of Summit County are uncanny. Both allege a

public nuisance, and both speak about an “epidemic” that has blighted communities.               In

Ameriquest, the defendants were not the brokers who encouraged would-be homeowners to take

subprime loans, nor the local banks who loaned the money, but bankers who securitized the

mortgages. And the plaintiffs were not the homeowners whose mortgages were foreclosed and

who lost their houses, but the city, which complained about lost tax revenue. Applying Holmes,

the Sixth Circuit held that the connection between the harm to the City and the defendants’

misconduct was “too indirect to warrant recovery.” 615 F.3d at 506. The Opposition argues that

this case is different because the alleged misconduct “matches the harm [the County] suffered:

by engaging in a fraudulent scheme to promote the widespread use of addictive opioids and …




                                                29
     Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 38 of 46. PageID #: 17670



fostering large-scale diversion, Defendants created the problem the Plaintiffs must spend money

to combat.” Opp. 44 (emphasis in original). But that purported distinction makes no difference

at all, for the City of Cleveland alleged the same thing—that the defendant investment bankers

engaged in a fraudulent scheme to promote the widespread use of subprime mortgages, fostering

risky borrowing on a large-scale by homeowners who could not afford the mortgages and

thereby creating a foreclosure problem the City had to spend money to combat. See Ameriquest,

615 F.3d at 499. This kind of connection, the Sixth Circuit confirmed, is too indirect. 23

          Just as the defendant banks in Ameriquest “‘did not directly make subprime loans to the

homeowners of Cleveland,’” Opp. 81 (quoting Ameriquest, 615 F.3d at 505), Distributors did

not market and promote the use of opioid medications to doctors or patients, nor did they

prescribe or dispense them. When the Opposition attempts to distinguish Ameriquest by saying

that “Defendants themselves inflated the demand for opioids through their fraudulent

marketing,” id., the County is talking about Manufacturers.                      By merely delivering the

medications that doctors prescribed—as a result of Manufacturers’ alleged fraudulent

marketing—and pharmacies dispensed, Distributors are akin to the investment bankers in

Ameriquest, who by securitizing the subprime mortgages originated by others only indirectly

supplied the mortgage funding.


23
      Holmes cited three reasons for the direct-injury rule. The Opposition’s attempt to show that those
      reasons are satisfied is as superficial as its attempt to distinguish Ameriquest. First, the indirectness of
      the County’s injury does make it difficult to ascertain what expenditures are attributable to a
      particular Distributor. When the County responds to an overdose, does it know (and can it prove) that
      the overdose resulted from prescription opioids, not heroin? If it did result from prescription opioids,
      how can the County attribute the drug to a particular pharmacy and Distributor? See Ameriquest, 615
      F.3d at 506. Second, the court would indeed have to “adopt complicated rules apportioning damages
      among plaintiffs removed at different levels of injury,” not only because personal injury plaintiffs
      have sued, and continue to sue, but also because the plaintiff political subdivisions are not distinct,
      but overlap in geographical jurisdiction. Third, the directly injured victims (i.e., the drug users) have
      sued in the past and can sue now. Id. So can the States, which have parens patriae authority. In any
      event, “all three factors do not need to be present for remoteness to bar discovery.” Id. at 503.


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  Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 39 of 46. PageID #: 17671



       Just as “home buyers chose to enter into a subprime mortgage and to default on their

loans” and mortgage holders “chose to begin the foreclosure process” for “a variety of reasons

unrelated to the Defendants,” Ameriquest, 615 F.3d at 505, so too patients sought pain

medications and doctors prescribed them for a variety of reasons unrelated to Distributors’

delivery of prescription opioids to pharmacies. And just as the alleged damages to Cleveland

from the wave of foreclosures—“eyesores, fires, drug deals, and looting—were also not directly

caused by the Defendants,” so too here the public expenditures related to an upsurge in opioid

addiction, which “could have occurred for ‘any number of reasons unconnected to the asserted

pattern of [misconduct],’” were not directly caused by Distributors’ alleged conduct.          Id.

(alteration in original) (quoting Anza v. Ideal Steel Supply Co., 547 U.S. 451, 458 (2006)).

       This failure to distinguish between Distributors and Manufacturers also explains the

County’s mistaken analysis of superseding cause. The Opposition does not dispute (i) that acts

of diversion (e.g., a doctor’s decision to write an improper prescription for commercial gain; a

patient’s sale of pills; or the theft of pills) necessarily occur after a Distributor supplies the

pharmacy, and (ii) that diversion inherently involves illegal conduct. The Opposition simply

argues that the illegal conduct is foreseeable, and therefore not a superseding cause—an

argument that goes astray for three reasons.

       First, under the Holmes direct injury test (which has been adopted as the common law of

Ohio), a complaint should be dismissed for failure to allege proximate causation, even where the

injury was allegedly foreseeable, if it was not also the direct consequence of the defendant’s

wrongdoing. See supra pp 9–10.

       Second, the County ignores the traditional presumptions about the foreseeability of

criminal conduct that are built into Ohio common law.             The Opposition, in discussing




                                                31
  Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 40 of 46. PageID #: 17672



foreseeability, cites Queen City Terminals, Inc. v. General American Transportation Corp., 653

N.E.2d 661 (Ohio 1995), a decision that did not involve criminal conduct, and fails to quote the

controlling language in Feichtner v. Ohio Department of Transportion about intervening

criminal conduct (below):

                [T]here is no common-law duty to anticipate or foresee criminal
                activity. Thus, the law usually does not require a prudent person to
                expect the criminal activity of others…. [O]nly when the totality of
                circumstances is “somewhat overwhelming” will a defendant be held
                liable for the criminal actions of a third party.

683 N.E.2d 112, 119–120 (Ohio Ct. App. 1995) (quoting Fed. Steel & Wire Corp. v. Ruhin

Constr. Co., 543 N.E.2d 769, 772–73 (Ohio 1989)).

       The same presumption holds when the intervening conduct is not illegal, but intentional:

               Traditionally, an intentional tort committed by a third party
               constitutes an intervening act which supersedes the negligence of the
               party creating the risk of harm, and relieves that party from liability.
               … [T]he intentional act is considered a superseding cause because
               such acts are typically not foreseeable.

Volter v. C. Schmidt Co., 598 N.E.2d 35, 39 (Ohio Ct. App. 1991) (per curiam).

       Third, the County plausibly argues only that Manufacturers could have foreseen the

illegal conduct: Doctors’ decisions to prescribe opioids “were the intended, actual, and entirely

foreseeable result of the Manufacturer Defendants’ fraudulent conduct.” Opp. 83; see Opp. 84

(“Widespread addiction was also an entirely foreseeable consequence of the Manufacturer

Defendants’ misrepresentations that opioids are rarely addictive….”).         These arguments do

nothing to establish that the alleged harm was foreseeable to Distributors.

V.     THE ECONOMIC LOSS DOCTRINE BARS PLAINTIFFS’ NUISANCE AND
       NEGLIGENCE CLAIMS.

       There are two lines of authority regarding the economic loss doctrine, and the Opposition

confuses them. One line reflects a concern that tort law not be used to circumvent contractual



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     Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 41 of 46. PageID #: 17673



remedies when contractual duties lie at the heart of the dispute. In those cases, the economic loss

doctrine refers to the principle that “a party cannot recover purely economic damages in a tort

action against another party based upon the breach of contractually created duties.” Digiknow,

Inc. v. PKXL Cards, Inc., 2011 WL 2899600, at *1 (Ohio Ct. App. July 21, 2011).

          The second line—and the one relevant here—applies the economic loss doctrine to “bar[]

tort plaintiffs from recovering purely economic loss that ‘do[es] not arise from tangible physical

injury’ to persons or property.” City of Cincinnati v. Deutsche Bank Nat’l Tr. Co., 863 F.3d 474,

477 (6th Cir. 2017) (quoting Queen City Terminals, 653 N.E.2d at 667). The rationale is that

“tort law does not impose an independent duty to avoid consequential economic damages.” Id.

          The Sixth Circuit’s 2017 decision in Deutsche Bank makes clear that the economic loss

doctrine applies here. There, as here, the plaintiff local government asserted a negligence claim

and sought solely damages for economic loss. And there, as here, the plaintiff had no contractual

relationship with the defendants. The Sixth Circuit applied the economic loss doctrine to bar the

negligence claim, and that decision is controlling authority.

          A.      The Doctrine Bars the Negligence Claim.

          The County argues that the doctrine does not apply because the County and Distributors

do not have any contractual or commercial relationships, and “[t]he economic loss doctrine has

only limited application outside this context.” Opp. 86. The Sixth Circuit held to the contrary in

Deutsche Bank, as did the Ohio Court of Appeals in Cleveland v. JP Morgan Chase Bank, N.A.,

2013-Ohio-1035, ¶ 28. 24 The County attempts to distinguish Deutsche Bank on the ground that

it involved a qualified public nuisance claim and “[c]laims for qualified public nuisance and
24
      The Sixth Circuit cited RWP, Inc. v. Fabrizi Trucking & Paving Co., 2006-Ohio-5014, noting that the
      Ohio Court of Appeals rejected the plaintiff’s argument that the economic loss doctrine “applied only
      in contractual disputes.” Deutsche Bank, 863 F.3d at 478. Similarly, JP Morgan held that the
      doctrine barred the City of Cleveland’s suit even though “the duty alleged to have been breached
      [was] not related to a contractual relationship.” JP Morgan, 2013-Ohio-1035, ¶ 28.


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     Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 42 of 46. PageID #: 17674



negligence are distinct causes of action under Ohio law.” Opp. 87. But the Sixth Circuit squarely

rejected this possible distinction, explaining that “qualified public nuisance mirrors a negligence

tort.” 863 F.3d at 477–78.

          Otherwise ignoring Deutsche Bank and JP Morgan, Plaintiffs argue that they may pursue

a tort claim “based exclusively upon [a] discrete, preexisting duty in tort,” Opp. 86 (quoting

Clemens v. Nelson Fin. Grp., Inc., 2015 WL 1432604, at *8 (Ohio Ct. App. Mar. 31, 2015)), but

that narrow exception does not apply here. As Clemens held, “exempt claims may include

claims for negligent misrepresentation[.] … fiduciary duty, fraud, and conversion”; negligence

claims, by contrast, cannot “escape the economic-loss rule.” 2015 WL 1432604, at *8–9. 25

          Finally, the County argues that if “the economic loss had applied, Cincinnati’s negligence

claim [in Beretta] would have had to be dismissed.” Opp. 87. But the County’s attempt to

divine by negative implication a rejection of the economic loss doctrine is unfounded. The

court’s opinion did not address that question, and Deutsche Bank rejected precisely the inference

from silence that the County asks the Court to draw here. 897 F. Supp. 2d at 642.

          B.      The Doctrine Bars the Nuisance Claim.

          The County argues that the economic loss rule does not apply to their “exclusively

equitable absolute public nuisance claims” because they “seek only equitable relief.” Opp. 22–

23. As an initial matter, the County’s claims are not “exclusively equitable” because public

nuisance is a legal claim. 26 More fundamentally, the County’s insistence that it can avoid the


25
      The Opposition points to Judge Lioi’s restatement of general principles in JBlanco Enter. v. Soprema
      Roofing & Waterproofing, Inc., 2016 WL 6600423, at *15 (N.D. Ohio Nov. 8, 2016), but ignores her
      holding, which dismissed the negligence claims as “barred by the economic loss rule,” id. at *13.
26
      See supra Part II.A.1. Nor do Plaintiffs seek exclusively equitable relief. Their Complaint expressly
      seeks “all legal and equitable relief” for the alleged nuisance, including “compensatory and punitive
      damages, and all damages allowed by law.” Compl. ¶ 1038; see also id. ¶ 996. Assuming Plaintiffs
      no longer seek compensatory damages, public nuisance is nevertheless a legal claim under Ohio law.


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     Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 43 of 46. PageID #: 17675



economic loss doctrine by seeking only equitable relief misunderstands the doctrine.                The

doctrine “bars tort plaintiffs from recovering purely economic loss that ‘do[es] not arise from

tangible physical injury’ to persons or property.” Deutsche Bank, 863 F.3d at 477 (alteration in

original) (quoting Queen City Terminals, 653 N.E.2d at 667). Application of the doctrine thus

depends on the nature of the injury suffered by the plaintiff, not the type of recovery it seeks.

         The economic loss rule compels dismissal of the County’s nuisance claims. In RWP,

plaintiffs argued that the economic loss rule did not bar their claims “predicated upon an alleged

‘absolute nuisance,’ which is not dependent upon a showing of negligence.” RWP, 2006-Ohio-

5014, ¶ 26. The court held that even a claim of absolute nuisance “requires that a plaintiff

sustain injury to property,” not just economic damages. Id. The court thus concluded that there

was “no basis for excusing application of the economic-loss rule in matters such as this where a

public nuisance is alleged.” Id. The same conclusion is warranted here. 27

VI.      THE UNJUST ENRICHMENT CLAIM SHOULD BE DISMISSED.

         The County’s unjust enrichment arguments are unavailing. The County concedes the

absence of a transactional relationship between it and Distributors. Opp. 96. The County

mistakenly contends that the requirement of a transactional relationship is “not the law” in Ohio.

The Ohio Supreme Court has said that it is. Johnson v. Microsoft, 834 N.E.2d 791, 799 (Ohio

2005) (dismissing claim because “[t]he facts in this case demonstrate that no economic

transaction occurred”); see Br. 50–51 (collecting cases). The County cannot sidestep these




27
      The County attempts to distinguish RWP by arguing that it “involved common law tort claims
      seeking compensatory damages for qualified public nuisance.” Opp. 22. But there is no mention of
      qualified public nuisance in RWP. It unmistakably is a claim for absolute public nuisance.


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     Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 44 of 46. PageID #: 17676



authorities by relying on White v. Smith & Wesson, 97 F. Supp. 2d 816, 829 (N.D. Ohio 2000),

which was effectively overruled by Johnson. 834 N.E.2d 791, 799 (Ohio 2005). 28

          The County’s reliance on pollution cases is also unavailing.             Little Hocking Water

Association v. E.I. du Pont de Nemours & Co., 91 F. Supp. 3d 940, 986 (S.D. Ohio 2015), holds

merely that a party may recover restitutionary-type relief for damage to its property where

determining actual damages is not feasible—a scenario that is not relevant here. The remaining

out-of-state cases cited by the County are even further afield: there, unjust enrichment claims

were allowed to proceed only where (i) the plaintiff suffered property damage caused by the

defendant, (ii) the defendant had a duty to remediate, and (iii) the plaintiff had undertaken

remediation “with an intent to charge” the defendant—none of which applies here. 29

          For these reasons, and the additional reasons explained in the reply brief of the Pharmacy

Defendants, the unjust enrichment claim should be dismissed.

VII.      THE CIVIL CONSPIRACY CLAIM SHOULD BE DISMISSED.

          As further explained in the Pharmacy Defendants’ reply, the conspiracy claim fails. 30

                                             CONCLUSION

          For all these reasons, the claims against Distributors should be dismissed with prejudice.

28
      Contrary to the County’s suggestion, Opp. 98–99, Johnson is not limited to the antitrust context. See,
      e.g., Ohio Edison Co. v. Direct Energy Bus., LLC, No. 5:17-cv-746, 2017 WL 3174347, at *3 (N.D.
      Ohio July 26, 2017); Three-C Body Shops, Inc. v. Nationwide Mut. Fire Ins., No. 16AP-742, 2017-
      Ohio-1461, ¶ 27, 2017 WL 1407304, at *6 (Ohio Ct. App. Apr. 20, 2017).
29
      See Ergon, Inc. v. Amoco Oil Co., 966 F. Supp. 577, 586 (W.D. Tenn. 1997); United States v. Healy
      Tibbits Constr. Co., 607 F. Supp. 540, 542 (N.D. Cal. 1985); cf. Moore v. Texaco, Inc., 244 F. 3d
      1229, 1233 (10th Cir. 2001) (dismissing unjust enrichment claim where plaintiff “failed to show that
      … [defendant] has any responsibility for cleaning up the pollution on the property”). The one case
      that differs, Evans v. City of Johnstown, is nevertheless inapposite. There, the court dismissed a
      property owners’ unjust enrichment claims except insofar as plaintiffs alleged that the city had taken
      an easement on their properties—a theory of liability that plainly has no application here. 96 Misc.
      2d 755 (N.Y. Sup. Ct. 1978).
30
      Distributors hereby adopt, as if set forth herein, the arguments made by the manufacturer and retail
      pharmacy defendants in the reply briefs filed by them today.


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 Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 45 of 46. PageID #: 17677



Dated: July 13, 2018                      Respectfully submitted,


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                                         37
  Case: 1:17-md-02804-DAP Doc #: 744 Filed: 07/13/18 46 of 46. PageID #: 17678



                            LOCAL RULE 7.1(F) CERTIFICATION

       Pursuant to Case Management Order Number Four (Dkt. 485, May 22, 2018), the

Distributors are permitted to file replies in support of their joint motions to dismiss totaling 90

pages across the following five local government cases set for briefing:

       •   Summit County, Ohio, et al. v. Purdue Pharma, L.P., et al., No. 18-op-45090;
       •   City of Chicago, Illinois v. Cardinal Health, Inc., et al., No. 18-op-45281;
       •   Cabell County Comm’n, West Virginia v. AmersourceBergen Drug Corp. et
           al., No. 17-op-45053;
       •   County of Monroe, Michigan v. Purdue Pharma L.P., et al., No. 18-op-4515;
       •   Broward County, Florida v. Purdue Pharma L.P., et al., No. 18-op-45332;

This brief adheres to the limits set forth in Case Management Order Number Four, as it is the

Distributors’ first brief in the above cases and it totals 36 pages.

                                                       /s/ Ashley W. Hardin
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                                  CERTIFICATE OF SERVICE

       I, Ashley W. Hardin, hereby certify that the foregoing document was served via the

Court’s ECF system to all counsel of record.




                                                       /s/ Ashley W. Hardin
                                                       Ashley W. Hardin




                                                  38
